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 Attorneys for Defendant Colliers International

                        IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF UTAH

  KATE GRANT,

  Plaintiff,                                             NOTICE OF APPEARANCE OF
                                                          COUNSEL FOR DEFENDANT
  V.
                                                          COLLIERS INTERNATIONAL
  KEVIN LONG; MILLCREEK
  COMMERCIAL PROPERTIES, LLC;
  COLLIERS INTERNATIONAL; BRENT                              Civil No. 2:23-cv-00936
  SMITH; SPENCER TAYLOR; BLAKE
  MCDOUGAL; and MARY STREET,                           Magistrate Judge Daphne A. Oberg

                 Defendants.



         Andrew V. Wright of the law firm Dentons Durham Jones Pinegar P.C., hereby enters his

 appearance as counsel for Defendant Colliers International in the above entitled matter. Please

 send all notices, court filings, correspondence, or other documents related to the above-captioned

 case to counsel at the address provided above.



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 DATED: February 23, 2024.
                                  DENTON DURHAM JONES PINEGAR P.C.


                                  /s/ Andrew V. Wright
                                  James D. Gilson
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 26th day of February, 2024, a true and correct copy of

 the foregoing was served via the Court’s ECF Service on the following:

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